                           MINUTE ENTRY FOR CRIMINAL PROCEEDING

                7                                                     DATE'
BEFORE MAG. JUDGE



DOCKET NUMBER:                9-0 Cv^ bir(l^MC                     LOG#:


DEFENDANT'S NAME                  {iwc(yJV^
                                  Present        Not Present             Custody

DEFENSE COUNSEL:
                  /-   ,     y Federal Defender                               Retained


A.U.S.A:                                                   CLERK:


INTERPRETER:


   Defendant arraigned on the :       indictment      superseding indictment         probation violation
      Defendant pleads NOT GUILTY to ALL counts.
      DETENTION HEARING Held.                    Defendant's first appearance.
              Bond set at                              . Defendant        released        held pend
                                                                                               pending
              satisfaction of bond conditions.
              Defendant advised of bond conditions set by the Court and signed the bond.
              Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
              (Additional) surety/ies to co-sign bond by
              After hearing, Court orders detention in custody.          Leave to reopen granted
       Temporary Order of Detention Issued. Bail Hearing set for

     At this time, defense counsel states on the record that the defendant does not have a bail
     application / package. Order of detention entered with leave to reapply to a Magistrate
     or to the District Court Judge to whom the case will be assigned.

       Order of Excludable Delay/Speedy Trial entered. Start                       Stop

       Medical memo issued.


       Defendant failed to appear, bench warrant issued.

      Status conference set for                                     before Judge

Other Rulings :

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